           Case 8-18-77731-las                Doc 21        Filed 04/03/19           Entered 04/03/19 11:34:10



UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
-------------------------------------------------------X                                              CHAPTER 13
IN RE:                                                                                                CASE NO.: -18-77731-las

JASON D. BASH,

                             DEBTOR(S).
--------------------------------------------------------X
                                                   CHAPTER 13 PLAN                                                    Revised 12/19/17


         Check this box if this is an amended plan. List below the sections of the plan which have been
        changed:
                    2.1; 3.2; and 4.4



PART 1: NOTICES
To Debtors: This form sets out options that may be appropriate in some cases, but the presence of an option on the form
does not indicate that the option is appropriate in your circumstance or that it is permissible in your judicial district. Plans
that do not comply with the local rules for the Eastern District of New York may not be confirmable. If you do not have an
attorney, you may wish to consult one.
To Creditors: Your rights may be affected by this plan. Your claim may be reduced, modified, or eliminated. You should
read this plan carefully and discuss it with your attorney. If you do not have an attorney, you may wish to consult one.
If you oppose the plan’s treatment of your claim or any provision of this plan, you or your attorney must file an objection
to confirmation at least 7 days before the date set for the hearing on confirmation, unless otherwise ordered by the
Bankruptcy Court. The Bankruptcy Court may confirm this plan without further notice if no objection to confirmation is
filed. See Bankruptcy Rule 3015. In addition, you may need to file a timely proof of claim in order to be paid under any
plan.

1.1 : The following matters may be of particular importance. Debtors must check one box on each line to state
whether or not the plan includes each of the following items. If an item is checked as “Not Included” or if
both or neither boxes are checked, the provision will be ineffective if set out later in the plan.

 a.    A limit on the amount of a secured claim, set out in Section 3.4, which may result in               Included       Not included
       a partial payment or no payment at all to the secured creditor

 b.    Avoidance of a judicial lien or nonpossessory, non-purchase-money security interest,                Included       Not included
       set out in Section 3.6

 c.    Nonstandard provisions, set out in Part 9                                                           Included       Not Included


1.2 : The following matters are for informational purposes.

 a.    The debtor(s) is seeking to modify a mortgage secured by the debtor(s)’s principal                  Included       Not included
       residence, set out in Section 3.3

 b.    Unsecured Creditors, set out in Part 5, will receive 100% distribution of their timely filed        Included       Not included
       claim
                Case 8-18-77731-las              Doc 21    Filed 04/03/19      Entered 04/03/19 11:34:10



      PART 2: PLAN PAYMENTS AND LENGTH OF PLAN
      2.1 : The post-petition earnings of the debtor(s) are submitted to the supervision and control of the Trustee
      and the Debtor(s) shall pay to the Trustee for a period of 60 months as follows:

      $6,500.00 per month commencing December 16, 2018 through and including March 16, 2019 for a
      period of 4 months; and
      $7,800.00 per month commencing April 16, 2019 through and including November 16, 2023 for a
      period of 56 months.

               Continued on attached separate page(s).     
      2.2 : Income tax refunds.

      If general unsecured creditors are paid less than 100%, in addition to the regular monthly payments, during the
      pendency of this case, the Debtor(s) will provide the Trustee with signed copies of filed federal and state tax
      returns for each year commencing with the tax year N/A no later than April 15th of the year following the tax
      period. Indicated tax refunds are to be paid to the Trustee upon receipt, however, no later than June 15th of
      the year in which the tax returns are filed.

      2.3 : Additional payments.

      Check one.
              None. If “None” is checked, the rest of §2.3 need not be completed.
             Debtor(s) will make additional payment(s) to the Trustee from other sources, as specified below.
          Describe the source, estimated amount, and date of each anticipated payment.




      PART 3: TREATMENT OF SECURED CLAIMS
      3.1 : Maintenance of payments (including the debtor(s)’s principal residence).

      Check one.
          None. If “None” is checked, the rest of §3.1 need not be completed.
    Debtor(s) will maintain the current contractual installment payments on the secured claims listed
         below, with any changes required by the applicable contract and noticed in conformity with any
         applicable rules. These payments will be disbursed directly by the debtor(s).

                              Last 4 Digits of     Principal                                    Current Installment
         Name of Creditor        Account          Residence        Description of Collateral    Payment (including
                                 Number          (check box)                                         escrow)

      Wells Fargo           3154                               35 Montrose Court, Roslyn, NY   $6,000
                                                          

                                                  
              Continued on attached separate page(s).
          Case 8-18-77731-las           Doc 21       Filed 04/03/19      Entered 04/03/19 11:34:10



3.2: Cure of default (including the debtor(s)’s principal residence).
    Check one.
        None. If “None” is checked, the rest of §3.2 need not be completed.
       Any existing arrearage on a listed claim will be paid in full through disbursements by the trustee, with
       interest, if any, at the rate stated below. Unless otherwise ordered by the court, the amounts listed on
       a proof of claim filed before the filing deadline under Bankruptcy Rule 3002(c) control over any
       contrary amounts listed below. In the absence of a contrary timely filed proof of claim, the amounts
       listed below are controlling.

                            Last 4       Principal
                                                                                         Amount of     Interest Rate
   Name of Creditor        Digits of    Residence        Description of Collateral       Arrearage        (if any)
                           Acct No.    (check box)
Wells Fargo              3154
                                                    35 Montrose Court, Roslyn, NY $370,110.99 0%


                                              

        Continued on attached separate page(s).      
3.3 : Modification of a mortgage secured by the debtor(s)’s principal residence.
     Check one.
         The debtor(s) is not seeking to modify a mortgage secured by the debtor’s principal residence.
         The debtor(s) is seeking to modify a mortgage secured by the debtor(s)’s principal residence.
        Complete paragraph below.
        If applicable, the debtor(s) will be requesting loss mitigation pursuant to General Order #582.

The mortgage due to                                 (creditor name) on the property known as
                           under account number ending           (last four digits of account number) is in default.
All arrears, including all past due payments, late charges, escrow deficiency, legal fees and other expenses due
to the mortgagee totaling $             , may be capitalized pursuant to a loan modification. The new principal
balance, including capitalized arrears will be $           , and will be paid at      % interest amortized over
          years with an estimated monthly payment of $                  including interest and escrow of
$             . The estimated monthly payment shall be paid directly to the trustee while loss mitigation is
pending and until such time as the debtor(s) has commenced payment under a trial loan modification.
Contemporaneous with the commencement of a trial loan modification, the debtor(s) will amend the Chapter
13 Plan and Schedule J to reflect the terms of the trial agreement, including the direct payment to the secured
creditor going forward by the debtor(s).
            Case 8-18-77731-las           Doc 21     Filed 04/03/19       Entered 04/03/19 11:34:10



 3.4: Request for valuation of security, payment of fully secured claims, and modification of
      under-secured claims.
     Check one.
        None. If “None” is checked, the rest of §3.4 need not be completed.

           The remainder of this paragraph is only effective if the applicable box in Part 1 of this plan is
           checked.

           The debtor(s) shall file a motion to determine the value of the secured claims listed below. Such claim

           shall be paid pursuant to order of the court upon determination of such motion.

                  Last 4                                                               Estimated          Estimated
Name of                         Description of         Value of       Total Amount     Amount of         Amount of
                 Digits of                                              of Claim       Creditor’s        Creditor’s
Creditor                          Collateral           Collateral
                 Acct No.                                                            Secured Claim     Unsecured Claim




           Continued on attached separate page(s).   
 3.5 : Secured claims on personal property excluded from 11 U.S.C. §506.

    Check one.
        None. If “None” is checked, the rest of §3.5 need not be completed.
        The claims listed below were either:
            o Incurred within 910 days before the petition date and secured by a purchase money security
                interest in a motor vehicle acquired for the personal use of the debtor(s); or
            o incurred within 1 year of the petition date and secured by a purchase money security interest
                in any other thing of value.
       These claims will be paid pursuant to §3.1 and/or §3.2. (The claims must be referenced in those
       sections as well.) Unless otherwise ordered by the court, the claim amount stated on a proof of claim
       filed before the filing deadline under Bankruptcy Rule 3002(c) controls over any contrary amount listed
       below. In the absence of a contrary timely filed proof of claim, the amounts stated below are
       controlling.

                               Last 4 Digits
  Name of Creditor                                     Collateral            Amount of Claim         Interest Rate
                               of Acct No.




           Continued on attached separate page(s).   
             Case 8-18-77731-las          Doc 21      Filed 04/03/19       Entered 04/03/19 11:34:10



   3.6: Lien avoidance.
       Check one.
           None. If “None” is checked, the rest of §3.6 need not be completed.

           The remainder of this paragraph is only effective if the applicable box in Part 1 of this plan is
           checked.

          The debtor(s) shall file a motion to avoid the following judicial liens or nonpossessory, non-purchase
      money security interests as the claims listed below impair exemptions to which the debtor(s) are entitled
      under 11 U.S.C. §522(b) or applicable state law. See 11 U.S.C. §522(f) and Bankruptcy Rule 4003(d). Such
      claim shall be paid pursuant to order of the court upon determination of such motion.
                                                                              Estimated   Interest Rate   Estimated
                     Attorney for        Lien            Description of       Amount of    on Secured     Amount of
Name of Creditor                                                              Secured       Portion, if   Unsecured
                       Creditor      Identification        Collateral
                                                                                Claim          any          Claim




          Continued on attached separate page(s).    

   3.7 : Surrender of collateral.

       Check one.
             None. If “None” is checked, the rest of §3.7 need not be completed.
             The debtor(s) elect to surrender to each creditor listed below the collateral that secures the creditor’s
       claim. The debtor(s) request that upon confirmation of this plan the stay under 11 U.S.C. §362(a) be
       terminated as to the collateral only and that the stay under 11 U.S.C. §1301 be terminated. Any timely
       filed allowed unsecured claim resulting from the disposition of the collateral will be treated in Part 5
       below.

                                            Last 4 Digits of
          Name of Creditor                                                   Description of Collateral
                                               Acct No.




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          Case 8-18-77731-las         Doc 21      Filed 04/03/19      Entered 04/03/19 11:34:10



PART 4: TREATMENT OF FEES AND PRIORITY CLAIMS


4.1 : General.

Trustee’s fees and all allowed priority claims, including domestic support obligations other than those treated
in §4.5, will be paid in full without post-petition interest.


4.2 : Trustee’s fees.

Trustee’s fees are governed by statute and may change during the course of the case.



4.3 : Attorney’s fees.

The balance of the fees owed to the attorney for the debtor(s) is $0.00.


4.4 : Priority claims other than attorney’s fees and those treated in §4.5.

Check One.
        None. If “None” is checked, the rest of §4.4 need not be completed.
       The debtor(s) intend to pay the following priority claims through the plan:

                Name of Creditor                                    Estimated Claim Amount
Department of Treasury - Internal Revenue Service      $24,663.95




        Continued on attached separate page(s).   

4.5 : Domestic support obligations.

Check One.
        None. If “None” is checked, the rest of §4.5 need not be completed.
       The debtor(s) has a domestic support obligation and is current with this obligation. Complete table
       below; do not fill in arrears amount.
       The debtor(s) has a domestic support obligation that is not current and will be paying arrears through
       the Plan. Complete table below.
                                Date of                           Monthly DSO    Amount of Arrears to be
 Name of Recipient                          Name of Court          Payment       Paid through Plan, If Any
                                Order
         Case 8-18-77731-las         Doc 21      Filed 04/03/19     Entered 04/03/19 11:34:10



PART 5: TREATMENT OF NONPRIORITY UNSECURED CLAIMS
Allowed nonpriority unsecured claims will be paid pro rata:

        Not less than the sum of $            .
        Not less than 100% of the total amount of these claims.
        From the funds remaining after disbursement have been made to all other creditors provided for in
        this plan.
If more than one option is checked, the option providing the largest payment will be effective.


PART 6: EXECUTORY CONTRACTS AND UNEXPIRED LEASES
6.1 : The executory contracts and unexpired leases listed below are assumed and will be treated as
specified. All other executory contracts and unexpired leases are rejected.
Check one.
        None. If “None” is checked, the rest of §6.1 need not be completed.
       Assumed items. Current installment payments will be paid directly by the debtor(s) as specified
   below, subject to any contrary court order or rule. Arrearage payments will be disbursed by the
   trustee.

                                Description of Leased Property or     Current Installment   Amount of Arrearage
  Name of Creditor
                                       Executory Contract             Payment by Debtor     to be Paid by Trustee




PART 7: VESTING OF PROPERTY OF THE ESTATE
Unless otherwise provided in the Order of Confirmation, property of the estate will vest in the
debtor(s) upon completion of the plan.



PART 8: POST-PETITION OBLIGATIONS

8.1 : Post-petition mortgage payments, vehicle payments, real estate taxes, and domestic support
obligations are to be made directly by the debtor(s) unless otherwise provided for in the plan.

8.2 : Throughout the term of this Plan, the debtor(s) will not incur post-petition debt over $2,500.00
without written consent of the Trustee or by order of the Court.
           Case 8-18-77731-las         Doc 21      Filed 04/03/19       Entered 04/03/19 11:34:10



PART 9: NONSTANDARD PLAN PROVISIONS
9.1 : Check “None” or list nonstandard plan provisions.

         None. If “None” is checked, the rest of §9.1 need not be completed.

Under Bankruptcy Rule 3015(c), nonstandard provisions must be set forth below. A nonstandard provision is a
provision not otherwise included in the form plan or deviating from it. Nonstandard provisions set out
elsewhere in this plan are ineffective.

The following plan provisions will be effective only if there is a check in the box “included” in §1.1(c).




PART 10: CERTIFICATION AND SIGNATURE(S):

10.1: I/we do hereby certify that this plan does not contain any nonstandard provisions other than
those set out in the final paragraph.

 /s/Jason Bash
Signature of Debtor 1                                     Signature of Debtor 2

Dated: March 28 ,2019                                     Dated:


/s/ Stuart P. Gelberg
Signature of Attorney for Debtor(s)

Dated: March 28, 2019
